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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

SHARON EUL, et al., on behalf of themselves and a   )
putative class,                                     )
                                                    )
                    Plaintiffs,                     ) Honorable Judge Ruben Castillo
                                                    )
      v.                                            ) Case No.: 1:15-cv-07755
                                                    )
TRANSWORLD SYSTEMS INC., et al.,                    ) Magistrate Judge Maria Valdez
                                                    )
                    Defendants.                     )

 DEFENDANTS’ RESPONSE TO MOTION TO INTERVENE AND TO AMEND MAY
      31, 2018 AMENDED FINAL APPROVAL ORDER, NUNC PRO TUNC

      NOW COMES Defendant Transworld Systems Inc. (“TSI”), EGS Financial Care,

Inc., f/k/a NCO Financial Systems, Inc. (“NCO”), Blitt and Gaines, P.C. (“B&G”),

Weltman Weinberg & Reis Co., L.P.A. (“WWR”), National Collegiate Student Loan

Trust 2003-1 (“NCSLT 2003-1”); National Collegiate Student Loan Trust 2004-1

(“NCSLT 2004-1”); National Collegiate Student Loan Trust 2006-2 (“NCSLT 2006-2”);

National Collegiate Student Loan Trust 2006-3 (“NCSLT 2006-3”); National Collegiate

Student Loan Trust 2006-4 (“NCSLT 2006-4”); National Collegiate Student Loan Trust

2007-1 (“NCSLT 2007-1”); National Collegiate Student Loan Trust 2007-2 (“NCSLT

2007-2”); National Collegiate Student Loan Trust 2007-3 (“NCSLT 2007-3”); and

National Collegiate Student Loan Trust 2007-4 (“NCSLT 2007-4”) (collectively referred

to herein as the “NCT Entities”), by and through their undersigned counsel, hereby

submit the following response to the Motion to Intervene and to Amend May 31, 2018

Amended Final Approval Order, Nunc Pro Tunc:


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        1.        On November 28, 2017, the plaintiffs filed an unopposed motion for

preliminary approval of class action settlement, and preliminary approval was granted by

this Court on January 10, 2018. See Dkt. 108, 111.

        2.        Pursuant to the settlement, the parties stipulated to the certification of a

class defined as follows:

        All persons that currently have addresses in the State of Illinois according to
        Defendants’ records that owe on a defaulted NCSLT loan and where the date of
        delinquency or last payment was made less than 10 years prior to the date of this
        Agreement.1

        3.        Additionally, pursuant to the settlement, and the preliminary approval

order, a third-party administrator was required to send the class notice to the settlement

class members using the address as shown in the Defendants’ business records. See Dkt.

111, p. 3, ¶ 3.

        4.        On April 23, 2018, Kelly Kratz, a principal at Dahl Administration, LLC,

submitted an affidavit confirming that notice was sent in compliance with the settlement

agreement and preliminary approval order. See Dkt. 120.

        5.        Pursuant to the parties’ limited consent to jurisdiction, a final approval

hearing was held on April 25, 2018 before Magistrate Judge Valdez where she heard and

considered objections and late opt-out requests.



1 For purposes of the settlement, NCSLT includes the following entities: National Collegiate Master Student Loan
Trust-I, National Collegiate Student Loan Trust 2003-1, National Collegiate Student Loan Trust 2004-1. National
Collegiate Student Loan Trust 2004-2, National Collegiate Student Loan Trust 2005-1, National Collegiate Student
Loan Trust 2005-2, National Collegiate Student Loan Trust 2005-3, National Collegiate Student Loan Trust 2006-1,
National Collegiate Student Loan Trust 2006-2, National Collegiate Student Loan Trust 2006-3, National Collegiate
Student Loan Trust 2006-4, National Collegiate Student Loan Trust 2007-1, National Collegiate Student Loan Trust
2007-2, National Collegiate Student Loan Trust 2007-3, National Collegiate Student Loan Trust 2007-4, and will be
referred to collectively as NCSLT.

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       6.     Pursuant to the final approval order entered May 1, 2018, Judge Valdez

found the settlement to be fair, reasonable and adequate, and approved the Agreement

submitted by the parties, including the release. See Dkt. 122, p. 3, ¶ 6.

       7.     As noted by Judge Valdez, in pertinent part:

       On April 25, 2018, the Court held a fairness hearing to which class members,
       including any with objections, were invited. Three class members; Yevgenny
       Strashnov, Sophia Bilikovsky and Oksana Bilikovsky appeared and objected
       orally to the settlement. All three requested exclusion from the settlement, two
       within the time for opt-out. Yevgenny Strashnov requested that he and his co-
       signer, Lev Strashnov be excluded. The court heard and considered these
       objections and allowed them to be excluded.

Dkt. 122, p. 2, ¶ 4. Notably, the Defendants did not object to the late exclusions.

       8.     On May 18, 2018, the parties, jointly, submitted a motion for leave to

amend the final approval order nunc pro tunc to add the name of Kyle Kelley as an opt-

out. See Dkt. 123. Critically, Kyle Kelley submitted an affidavit confirming that he

timely mailed an opt out request. Based specifically upon the affidavit, the Defendants

consented and agreed to the opt out request.

       9.     Pursuant to affidavit, attached hereto as Exhibit A, Kelly Kratz confirmed

that the notice was sent to Timothy Lytle on January 16, 2018 to 639 West Buckingham

Place, Apartment 2, Chicago, IL 60657. The notice was not returned. Id. ¶ 4.

       10.    With regard to Brigette Lytle, the notice was sent on January 16, 2018 to

925 Clarence Avenue, Apartment 2, Oak Park, IL 60304 and the notice was then returned

as undelivered with no forwarding address. Id. ¶ 5. At that time, Dahl sent a request to

Experian to attempt to identify a current address for Ms. Lytle, and that request came



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back with an address at 804 Marion Street, Oak Park, IL 60302. Id. On March 6, 2018,

the notice was sent to that address, and it was not returned. Id.

         11.   Here, Timothy Lytle and Brigette Lytle have submitted affidavits asserting

that they never received the notices.

         12.   The affidavit submitted by Timothy Lytle reflects a good address of 639

West Buckingham Place, Apartment 2, Chicago, IL 60657. Dkt. 127-1. That is where

the notice was sent by Dahl as evidenced by the Kratz affidavit.

         13.   The Brigette Lytle affidavit reflects a good address at 519 Grove Lane,

60130, Forest Park, IL. Dkt. 127-2. Again, as evidenced by the Kratz affidavit, the

notice was mailed to 804 Marion Street, Oak Park, IL 60302 did not come back and was

presumed delivered by Dahl.

         14.   Timothy Lytle and Brigette Lytle have shown no diligence in submitting

this motion to the Court for consideration. Based upon their own documentation, their

attorney was put on notice by, at latest, May 21, 2018, that his clients were considered

class members in the Eul settlement agreement. Dkt. 127-3. Rather than immediately

coming to this Court to seek relief, the Lytles waited until July 11, 2018, nearly two

months, to file the motion to intervene. Also, Timothy Lytle’s claims are contradicted by

Kratz’s affidavit which establishes that notice was, in fact, mailed to his current address,

and that notice was sent to the available address for Brigette Lytle and never returned.

         15.   Importantly, the settlement agreement and release reached in this case

provides relief to both Timothy Lytle and Brigette Lytle as members of the settlement

class.

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       16.    The Defendants object to the relief sought here, as they are entitled to

finality, as reflected by the terms of the final approval order, and, should the Court grant

the relief requested herein, the Defendants, and this Court, will be subject to continued

motions potentially for months, or years, to come by individuals seeking to modify the

final order. A final approval order is meant to be exactly that – final.

       17.    Moreover, since the entry of the final approval order, the Defendants have,

in good faith, commenced performance of the settlement terms contemplated by the

settlement agreement.

       18.    Here, the Lytles have shown no good faith basis to grant the relief they

seek, the claims are contradicted by the affidavit of the class administrator, and, for the

reasons stated herein, the Defendants request that this Honorable Court deny the Lytles’

Motion to Intervene and to Amend the May 31, 2018 Amended Final Approval Order

Nunc Pro Tunc.

Respectfully submitted,                              Respectfully submitted,

/s/ Morgan I. Marcus                                 /s/ Todd P. Stelter
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Daniel W. Pisani                                     Todd P. Stelter
Morgan I. Marcus                                     Jason L. Santos
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Attorneys for Transworld Systems Inc., EGS           Attorneys for Transworld Systems Inc.
Financial Care, Inc., Blitt and Gaines, P.C.         and Weltman Weinberg & Reis Co., L.P.A.
National Collegiate Student Loan Trust 2003-1,
National Collegiate Student Loan Trust 2004-1,
National Collegiate Student Loan Trust 2006-2,
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National Collegiate Student Loan Trust 2006-3,
National Collegiate Student Loan Trust 2006-4,
National Collegiate Student Loan Trust 2007-1,
National Collegiate Student Loan Trust 2007-2,
National Collegiate Student Loan Trust 2007-3, and
National Collegiate Student Loan Trust 2007-4


                             CERTIFICATE OF SERVICE

       I certify that on July 20, 2018 a copy of the foregoing DEFENDANTS’
RESPONSE TO MOTION TO INTERVENE AND TO AMEND MAY 31, 2018
AMENDED FINAL APPROVAL ORDER NUNC PRO TUNC was filed
electronically in the ECF system. Notice of this filing will be sent to the parties of record
by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

                                           /s/ Morgan I. Marcus
                                           One of the Attorneys for Defendants




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